        Case 2:18-cv-02421-JFW-E Document 143 Filed 07/11/18 Page 1 of 1 Page ID #:2684


                                    UNITED STATES DISTRICT COURT
                                   CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES-GENERAL


Case No. CV 18-2421-JFW(Ex)                                                                Date: July 11, 2018

Title: BROIDY CAPITAL MANAGEMENT LLC, et al. v. STATE OF QATAR, et al.



DOCKET ENTRY


PRESENT:

               HON. CHARLES F. EICK, JUDGE

                   STACEY PIERSON                                                 N/A
                  DEPUTY CLERK                                       COURT REPORTER

ATTORNEYS PRESENT FOR PLAINTIFFS:                          ATTORNEYS PRESENT FOR DEFENDANTS:

               None                                                                None


PROCEEDINGS:        (IN CHAMBERS)


                The Court has read and considered all papers filed in support of and in opposition to the “Motion
         Re Issuance of Letter Rogatory to Ooredoo, Q.S.V.” (“the Motion”), filed June 25, 2018. The
         previously noticed July 20, 2018 hearing date is vacated. The Court has taken the Motion under
         submission without oral argument.

                 The Motion is granted in part and denied in part. The Court is prepared to issue the “Request,
         etc.” that is Exhibit 1 to the Motion, with modifications. The modifications, which are reflected in the
         interlineated copy of Exhibit 1 attached hereto: (1) correct certain errors in Exhibit 1; (2) avoid making
         unnecessary and possibly unproven findings of fact; and (3) effect the denial of the Motion as to
         Document Request No. 5 (as unreasonably vague, overbroad and potentially disproportionate). See
         Fed. R. Civ. P. 26(b)(1). Plaintiffs promptly shall submit to the Court a proposed “Request, etc.”
         implementing these modifications.



         cc:      Judge Walter
                  All Counsel of Record

MINUTES FORM 11                                                                             Initials of Deputy Clerk   SP
CIVIL-GEN
